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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,       *
                                 *
            Plaintiff,           *
                                 *
       v.                        *    CIVIL NO. DKC-20-2071
                                 *
 REAL PROPERTY LOCATED IN        *
 POTOMAC, MARYLAND,              *
 COMMONLY KNOWN AS 9908          *
 BENTCROSS DRIVE, POTOMAC, MD *
 20854 AND ALL APPURTENANCES,    *
 IMPROVEMENTS, AND               *
 ATTACHMENTS LOCATED             *
 THEREON, AND ALL RENTAL AND     *
 OTHER INCOME GENERATED BY       *
 THE PROPERTY, OR ANY            *
 PROPERTY TRACEABLE THERETO, *
                                 *
            Defendant In Rem.    *
                                 *
                              *******
    DECLARATION OF SPECIAL AGENT ANDREA C. RANDOU IN SUPPORT
   OF THE UNITED STATES’ SUPPLMENTAL MEMORANDUM IN SUPPORT OF
   MOTION FOR DEFAULT JUDGMENT AND FINAL ORDER OF FORFEITURE
           I, Andrea C. Randou, a Special Agent with Homeland Securities Investigations, do hereby

declare:

                               Introduction and Agent Background

       1.        I am a Special Agent with the Department of Homeland Security, Homeland

Security Investigations and have been so employed since 2019. I am currently assigned to Illicit

Proceeds and Foreign Corruption Group. If called upon, I can testify to the facts set forth in this

declaration which are based upon reports and information known to me and/or furnished to me by

other law enforcement sources or officials from the government of The Gambia.
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       2.      This declaration is submitted in support of the United States’ supplemental

memorandum in support of its motion for default judgment and final order of forfeiture as to the

following property:

               Real property located in Potomac, Maryland, commonly known as 9908 Bentcross
               Drive, Potomac, MD 20854 and all appurtenances, improvements, and attachments
               located thereon, and all rental and other income generated by the property, or any
               property traceable thereto

(the “Defendant Property”).

       3.      I submit that there are sufficient facts to support a reasonable belief that, should this

case proceed to trial, the United States would be able to prove the forfeitability of Defendant

Property, under 18 U.S.C. § 981(a)(1)(A) and (a)(1)(C), as both (a) property constituting, derived

from, or traceable to the proceeds of “specified unlawful activity,” as that term is defined in 18

U.S.C.§ 1956(c)(7), or a conspiracy to commit “specified unlawful activity,” and (b) as property

involved in money laundering violations of 18 U.S.C. § 1956 and 1957.

                           Summary of Facts Supporting Forfeiture

       4.      As referenced in the Verified Amended Complaint for Forfeiture In Rem (ECF No.

6, the “Amended Complaint”) documentary evidence in support of the allegations therein came

from the government of The Gambia, law enforcement sources, and publicly available information.

The Gambia established a commission to investigate the Jammeh regime’s public corruption,

formally named the Commission of Inquiry Into The Financial Activities of Public Bodies,

Enterprises and Offices as Regards Their Dealings With Former President Yahya A.J.J. Jammeh

And Connected Matters (the “Janneh Commission” or “Commission”).1 The Commission began

its work in 2017 and issued its findings in a nine-volume report (the “Commission’s Report”)



1
 As explained in the Amended Complaint, the Janneh Commission was named after the Chairman of the
Commission, Sourahata Semega-Janneh.

                                                  2
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issued to the public on September 13, 2019. The United States was provided a copy of the

Commission’s Report and it is available online at https://gainako.com/the-janneh-commission/.

       5.      The Commission’s Report was summarized by The Gambia’s Ministry of Justice

in a separate document entitled “The White Paper.” The White Paper is available online at

https://www.moj.gm/download-file/21ba671b-d0f1-11ea-837b-025103a708b7.

       6.      As the Commission Report, its witness testimony, and its supporting documentation

make clear, Jammeh’s pattern of corruption included soliciting and extorting bribes from

businesses operating in The Gambia and causing funds to be withdrawn in cash from The Gambia’s

Central Bank with little or no paperwork to describe or justify the use of these public funds. For

example, during the two-year period preceding the 2010 purchase of the Defendant Property in

Potomac, Maryland, Jammeh granted monopoly rights to businesses over lucrative sectors of the

Gambian economy, e.g., fuel importation and telecommunication rights, in exchange for bribes

and kickbacks. Although these monopoly rights were granted for a period of years, Jammeh would

periodically and repeatedly threaten to rescind these rights from their custodians unless these

businesses paid him additional bribes and kickbacks.

       7.      Petroleum Company, a company controlled by Businessman #1, was granted

exclusive monopoly rights by Jammeh over all petroleum imports into The Gambia. In July 2010,

however, Petroleum Company was informed by its petroleum supplier that its monopoly over fuel

imports into The Gambia would cease at the end of 2010. In seeking to reverse this decision, on

or about July 30, 2010, Businessman #1 requested that Jammeh issue a letter confirming Petroleum

Company’s continued monopoly rights over The Gambia’s petroleum imports through 2014. Bank

records for Petroleum Company at Trust Bank Ltd. show on July 30, 2010, the equivalent of




                                                3
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$1,000,000 U.S. Dollars/30,000,000 Dalasi2 (at 2010 exchange rates) being transferred out of its

account. On August 10, 2010, Businessman #1 received a letter from Secretary General Mustapha

Yarbo, a Gambian official on Jammeh’s presidential staff, confirming Petroleum Company’s

continued monopoly rights over the Gambian petroleum importation industry. The letter informed

Businessman #1, “His Excellency has endorsed your request to continue as the sole government

appointed agent for the importation of fuel into The Gambia until 2014 in accordance with the

agreement.” Attached as Exhibit 1 are true and correct copies of the correspondence as obtained

from The Gambia, including copies of these letters and the relevant bank statement, showing the

transfer of funds.

          8.      Similarly, Telephone Management Services Firm, a legal entity owned by

Businessman #2, was a company retained by The Gambia to provide telecommunications services

in The Gambia, including international telephone and internet services, beginning in or about 2007.

Businessman #1 continued to function as an intermediary between Jammeh and Telephone

Management Services Firm. The Commission found that in or about 2007, Jammeh approved the

Gambian government’s sale of fifty percent of the shares of Gamtel, a state-owned

telecommunications enterprise, and its subsidiary to Telephone Management Services Firm for

$35 million USD. This was a fraction of Gamtel’s actual market value. At about the same time,

The Gambia also entered into a multi-year contract for management and other services, including

international telephone and internet services, with another entity held by Telephone Management

Services Firm. In or about 2008, Jammeh caused The Gambia to terminate its agreement with

Telephone Management Services Firm. Although Businessman #2 requested that the Gambian

Government return the $35 million USD he paid to The Gambia for Gamtel’s shares, only $5



2
    The Dalasi is the official currency of The Gambia.

                                                         4
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million USD was repaid by the Ministry of Finance to Businessman #2 (with the remaining $30

million unaccounted for after being misappropriated by the Jammeh regime). Attached as Exhibit

2 are true and correct copies of correspondence, as obtained from The Gambia, noting these

exchanges.

       9.      On or about August 8, 2010, records show Zineb Jammeh settled the MYJ Family

Revocable Trust and executed a Certificate of Trust Existence and Authority. An employee of

Petroleum Company signed the Certificate of Trust as a witness and provided his business address

as the address for the MYJ Family Revocable Trust and his email address as the point of contact

for the real estate transaction. Attached as Exhibit 3 are true and correct copies of business records

of Paragon Title & Escrow Company (“Paragon Title”), the Maryland title company involved in

the purchase of the Defendant Property, which include an agreement between the MYJ Family

Revocable Trust and Paragon Title related to the purchase of the Defendant Property, a Certificate

of Trust Existence and Authority for the MYJ Family Revocable Trust, and email communications

with Paragon Title on behalf of the Trustee of the MYJ Family Revocable Trust.

       10.     On or about August 11, 2010, according to Trust Bank Ltd. records, an employee

of Petroleum Company opened an account at Trust Bank Ltd. in Banjul, The Gambia in the name

of the MYJ Family Trust. This was one day after Petroleum Company received a re-affirmance

of their fuel importation monopoly rights, one day after it transferred $1,000,000 USD from its

account at Trust Bank Ltd., and while Businessman #2 was seeking to re-establish the

Telecommunication and Internet Services Management Firm’s contract with the Gambian

government. On or about August 13, 2010, according to Trust Bank Ltd. records, the employee

of Petroleum Company deposited bulk cash in U.S. currency into the MYJ Family Trust account

in three separate transactions: $800,000; $125,000; and $75,000. In total, the Petroleum Company



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employee caused $1,000,000 USD in cash to be deposited into the MYJ Family Trust account that

day. On or about August 18, 2010, $1,000,000 USD was transferred via wire from the MYJ Family

Trust account to an account at Wachovia Bank in Bethesda, Maryland in the name of Paragon

Title. As referenced in the Verified Amended Complaint, additional deposits were made in The

Gambia and then wired to Paragon Title and Escrow Company’s Wachovia Bank account in

Bethesda, Maryland. After approximately $3,562,610 USD was wired from the MYJ Family Trust

account in August and September 2010 to Paragon Title and Escrow Company’s Wachovia Bank

account in Bethesda, Maryland, the MYJ Family Trust account, at Trust Bank Ltd. in The Gambia

possessed a negative balance. On or about September 16, 2010, approximately $4,000 USD in

additional funds were transferred from Petroleum Company’s account to the MYJ Family Trust

account at Trust Bank Ltd. in The Gambia. These funds were used to reconcile the MYJ Family

Trust account’s negative balance. Attached as Exhibit 4 are true and correct copies of a

Certification of Foreign Records of a Regularly Conducted Activity, attaching an inventory of

bank documents from Trust Bank, Ltd. in Banjul, The Gambia and copies of the bank records.

       11.     On September 20, 2010, the Defendant Property was purchased in the name of the

MYJ Family Trust for $3,500,000 USD, plus $62,610 USD in closing costs. In furtherance of the

transaction, a deed for the Defendant Property was issued to the trustees of the MYJ Family Trust

and a recorded copy was requested to be mailed to Paragon Title in Bethesda, Maryland. Attached

as Exhibit 5 is a true and correct copy of the Deed to the Defendant Property.

       12.     After the Defendant Property was purchased, upon information and belief, Zineb

Jammeh periodically occupied the house and Jammeh’s children attended schools in the

Washington, D.C. area. Zineb Jammeh occasionally traveled to the area, employing a household

staff to maintain the Defendant Property when she was not there. In 2020, the Jammehs rented the



                                                6
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                  Exhibit 1
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                  Exhibit 2
Ife
   SPECTRUM
Case 8:20-cv-02071-DKC Document 16-1 Filed 03/28/22 Page 20 of 115
        International Investment Holding
                                                                                  Thursday, September 27,2007


       Honourable Moussa G. Baia Gaye
       Secretary of State for Finance and Economic Affairs
       IVIinistry of Finance and Economic Affairs
       Quadrangle - Banjul
       The Gambia



       Your Excellency,


       Subject: Request to waive all existing and current financial liabilitfes of Gambia
       Telecommunications          Company       Limited    and     Gambia      Cellular Telecommunications
       Company Limited



       We are pleased to have reached the final phase of the purchase of 50% of the shares in Gambia
       Telecommunications Company Limited and Gambia Cellular Telecommunications Company
       Limited (both hereinafter refen-ed to as 'the Company") pursuant to the Master Share Purchase
       Agreement entered into on the 27*^ day of July 2007. Thus far, much has been achieved by this
       venture.



       Subsequently, based solely on the information available to us and not on the whole and up to
       date financiai situation of the Compnny, v.'g havs bsen sble to compile a list of existing iiabiiities.
       Tuis list is subject to change shouid more liubiiilies be discovered at a later date.


       Corporation Tax                                   Gamcel                      D 169,582,629
       Sales Tax                                         Gamtel                      D 167,840,994
       Corporation Tax                                   Gamtel                      D   96,938,980
       Government Loan (2%)                              Gamtel                      D   42,843,938
      _^per,trum / License Fees                          Gsmtw-         .            D 22,783,358
       Regulatory Fees / PUF5A                          Gamtel                       D   15.473,396
       Government Loan (5%)                             Gamtel                       D   13,085,842
       Sales Tax                                        Gamcel                       D   8,406,644
       GSM License                                      Gamcel                       D   6,500,000
       GRTS Levy                                        Gamtel                       D   5,099,409
       Regulatory Fees / PURA                           Gamcel                       D      955,798
       GRTS Levy                                        Gamcel                       D      500,396


       Total                                                                  0 550,011,383.00
       Total in United Stated Dollars                                         $25,000,517
                                                                                                             _Pagel_

                 Verdim, RacWd KarameStreet;Center Verdun 732,17th Hoor;P.O.Box:113-5333; Beirut,Lebanon;
               Tel:+9611809242; Fax: +9611809241; wvvw.spectriim-holding.com: e-mail:ashgssoectriim-holdin
.5^
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     8:20-cv-02071-DKC                Document 16-1 Filed 03/28/22 Page 21 of 115
   International Investment Holding
                                                                                Thursday, September 27,2007



   In order to support the development of the very urgent next steps required in making this venture
   a success we believe it to be very necessary to request from you, that The Government of The
   Republic of The Gambia waive and Indemnify Gambia Telecommunications Company Limited
   (GAMTEL) and Gambia Telecommunications Cellular Company Limited (GAMCEL) of all the
   liabilities listed above, but not limited to it, including any and all other governmental liabilities
   which may come to lighthas having existed on or priorto the date of Completion.


   Further, we strongly believe that this measure, along with others, is crucial to successfully
   reaching the goal of enhancing the current commercial situation of the Company.
   We appreciate your usual cooperation and sincere commitment towards our jointventure.



   Yours sincerely,

    A
   All Youssef Sharara

   Spectrum International Investment Holding




                                                                                                               Page 2


             Verdun,Racliid KarameStreet; CenterVerdiin732,17thHoor;P.O.Box:113-5333; Beirut, Lebanon;
          Tel; +9611 809242; Fax: +9611 809241; www.spectrum-holding.coni: e-mail: ash@spectrum-holdint^.rnm
Case 8:20-cv-02071-DKC Document 16-1 Filed 03/28/22 Page 22 of 115




            List of Liabilities
              Gamtel/Gamcel




                                                                 •_c--
                                                                                 GAMTEUGAMCEL
             Case 8:20-cv-02071-DKC Document       16-1 Filed 03/28/22 Page 23 of 115
                                         List of Liabifilies




DISCLAIMER

Detecon International GmbH CDetecon") provides the figures solely to the information of the management of Spectrum ("SpedtumT to assist the latter to develop a viable
picture of the overall commercial situation of Gambia Telecommunications Company Limited ("Gamter) and its subsidiaries and affiliates.

Detecon has been engaged to support Spectrum in elatxjrating roughly the technical and commerical Nation of Gamlel and to support the development of some pos^le
and urgent next steps to enhance the situation of Gamtel.

This list of nabiiilies does not express a valuation opinion of Detecon. It contains findings and material assumptions to describe in a rough overview the liabilities of Gamtel
and Gamcel. Allfigures represent snapshot on the date of issuance of the list and are not audKed or otherwise verified either by Detecon or any third party. This report
shall not t>e a substihjte for accounting, legal or fax advice on any spedfic questions with regard lo the shown figures.

Due to the restrictions of the elaborated subject in this nst, the report shall not be regarded as a due diligence report or a part, of it.

The nst is solely based on financial and other information furnished by Gamtel, Gamcel and Spectrum. Regarding the material and information provided to Detecon by
Spectrum, Gamtel and Gamcel, Detecon has made, - if not olhenvise stated - the following assumptions wtiile pref)aring this list: Ail documents provided in original form
were authentic; all documents provided in photocopy were congnjent with their originals; all signatures on all documents provided in original or photocopied forni were
authentic; all persons having signed any document provided in original or photocopied form had the legal right to represent the natural or legal person in whose name they
have signed the relevant document; all oral Infonnalion provided was true and correct; no essential infonnation has been withheld; all interviewed persons have made
accurate and complete statements.

This nst has been prepared for the purpose to be used by Spectrum in connection with the evaluation of the purchase of 50% of the shares of Gamtel. This list shall not be
used for any other purpose and should not be quoted, referred to or given to any third patty vinthoutDetecon's prior written consenL Detecon accepts no responsibility or
liabifrty towards any third party in respect of any use of this report or for any reliance placed upon it




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     Case 8:20-cv-02071-DKC Document 16-1 Filed 03/28/22 Page 25 of 115
                                                                                          I A
                    Department ofState for Finance ez EconomicAffairs
                                       The Quadrangle
    >1                               Banjul^ The Gambia
\

      MF/C/278A/(4)                                                 October 9, 2007

      MR ALI YOUSSEF SHARARA
     SPECTRUM INTERNATIONAL INVESTMENT HOLDING
      P O BOX 113-5333
      BEIRUT, LEBANON

     Dear Sir


          WAIVER OF CERTAIN PAYMENT OBLIGATIONS TO GOVERNMENT BY
                                    GAMTEL/GAM^

     I wish to refer to your letter of 27"^ September, 2007, and to inform you that
     His Excellency the President, taking into account the current financial situations
     of GAMTEL/GAMCEL, and the immediate need for substantial investments to
     advance the telecommunications infrastructure for development, has waived the
     following payment obligations of GAMTEL/GAMCEL to Government:

     1)      CorpoMtion Tax - Gamce!                 -             D169,582,629
     2)      S.Jies Tax - Gamtel              -                    D167 840 994
     3)      Corporation Tax - Gamtel                              D 96 938 980
     4)      Government Loan Repayment Gamtel -                    D 42,843 938
     5)      Spectrum Licence Fees - Gamtel          -             D 22^783^358
     6)      Regulatory Fees PURA-Gamtel             -             d 15,473^396
     7)      Govet^meiU Loan Repayment - Gamtel -                    i 3,085 842
     6)      SaieiTax—-Gamcel          ^                           iT 83X)6764T
     9)      GSM Licence - Gamcel               -                  d 6,500 000
     10) GRTS Levy - Gamtel                          -             q   5 099 409
     11) Regulatory Fees - PURA - Gamcel             -             D      955^798
     12) GRTS Levy —Gamcel                           -             d      500,396
     2.     The President's waiver is on condition that Gamtel waives its claimed
     Government liabilities of D215,292,990.70, and Gamcel equally waives its
     claimed Government liabilities of D13,449,655.50.
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3.    HE The President has instructed that, apart from the above liabilities that
have now been waived, Gamtel and Gamcel should, from now and in future,
make prompt payments of all their financial obligations to Government.




Mousa G Bala-Gaye
SECRETARY OF STATE FOR FINANCE AND
ECONOMIC AFFAIRS

Cc:   Secretary of State for Information,
          Communication and Technology
      Commissioner General, Gambia Revenue Authority
      Secretary General, Office of The President
      Managing Director, GAMTEL
      Managing Director, GAMCEL
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                          Department ofState For Finance & Economic Affairs


§
                                           The Quadrangle
                                         Banjul, The Gambia

          MF/C/278A/(6)                                               October 29, 2008

          IN CONFIDENCE


          Mr All Youssef Sharara
          Spectrum international Holding
          P O Box 113-5333
          BEIRUT
          LEBANON


          Dear Sir


                WAIVER OF CERTAIN PAYMENT OBLIGATIONS TO GOVERNMENT BY
                                         GAMTEL/GAMCEL


          I am directed to inform you that The Gambia Government decision,
          conveyed in my Memo. MF/C/278A/(4) of 9"^ October, 2007, to waive
          certain itemized payment obligations of GAMTEL/GAMCEL to Government
          has now been rescinded.


                  /(5AMCEL should no*** f?ffect poymenfs of a!! those f»cier
          licenses and loan repayments to Government and Government
          institutions.




    •as            <3- 3ala Goye
          SECRETARY OF STATE FOR FINANCE AND
          ECONOMIC AFFAIRS


          Cc:    Secretary of State for information. Communication
                  And Technology
                 Secretary General, Office of The President
                 Commissioner, Gambia Revenue Authority
                 Managing Director, GAMTEL
                 Managing Director, GAMCEL
                         -           i

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             ^v:-'          Document 16-1 Filed 03/28/22 Page 28 of 115                                                    j'

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                                  THE REPUBLIC                                            OF THE GAMBIA

                                             ^DEPARTMEWr'OF^SgVTE FOR COMMUNICATIONS,                                              .m
                                              INf0feyiAT10>f'& fWORMATION TECHNOLOGY                                               ~M
                                                  GRTS BUlLDiNG, MDt ROAD. KAMRNG
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DOSCIT/COFJ031/I20)                                                                                       S^'NovembeTi 2008
                                                                                                                                   W^:
MR. ALl YOl SSEF ShiARARA>
Spectrum* Intematioiial                                                                                         Wm
Verdiin,
            J                    "                  e.   ' f    .iViljfl.
                                                                              iiii
Rachid Ktrame Street Centra Verdim'732,^                                                                                            r
171^ rloor Beirut,               ;    ,i' ~                                                                                        -i-vy

Fax;+kl13Lja24t '''r                                 ' ''f''| :

           ris                                                                                                                        iS
This is"4o^dfEcj3lly infomi yoxi that tlie Agreement entered between The Govemment of
the Gambia find Spectrum International Holdings SAL for the Management of
GAMTEL/GAMCEL (the Company) pursuant to the Master Purchase, Shareholders'
and? Matifegement' AgreementS'is hereby, terminated due to fundamental breaches of
the provisions of tlie saicj Agreements tmd fraudulent acts committed by Spectrum
Intematio.ial Holdings SAL-^and its representatives in violation of the laws of the
Gambia.



You are' hereby further infohned that a new Management team will be put in place
pending tt e deteimination of the relationship between the parties.


You and your team are welcome to discuss this matter with us with a view to find an                                                9k
                                                                                                                                   •S-^yvV

amicable iLolution.
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Your c6»>p\;ration isliighly sdlicited.
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                               Department of State for Finance &Economic Affairs
                                               Ttie Quadrangle
                                              Banjul, The Gambia




             MF/C/278A/(81                                            November 14, 2008
             Mr Mohammed BAZZI
             Managing Director
             Euro-African Group Ltd.
             Standard Chartered House
             Kairaba Avenue
             KMC, Serrekunda
             The Gambia
    \
s       .
             Dear Sir

                                          LEHER OF AUTHORISATION


             1have been directed by His Excellency, The President of The Republic of
             The Gambia, to inform you that you have been au horized and
             mandated to negotiate, "on behalf of Gambia government, the sale, at
             an appropriate and premium price, o 30% of the Govemments shares in
              the Gambia Cellular Company (GAMCEL) . Gambia Government reserves
              the right to approve or reject any investor, and equally to approve or
              reject any negotiated shares sale price. Also, after the investor and
              negotiated shares sale price have been approved, Garribia Government
              will only transfer the purchased shares after full payment of the approved
              shares sale price.




               KPusa G Bala-Gaye
              SECRETARY OF STATE FOR FINANCE AND
              ECONOMIC AFFAIRS

               Cc; Secretary General, Office of The President
                        Secretary of State for Information, Communication and
                           Information Technology
                        Hon. Attorney General and Minister of Justice
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                    Department of State for Finance & Economic Affairs
                                    The Quadrangle
                                   Banjul, The Gambia




 MF/C/278A/(7)                                             November 14, 2008

 IN CONFIDENCE


Mr Ali Youssef SHARARA
Chiarman and Chief Executive Officer
Spectrum International Investment Holding SAL
Verdun
Rachid Karame Street, Centre Verdun 732
17'h Floor, P O Box 113-5333
Beirut
LEBANON


Dear Sir


     GAMBIA GOVERNMENT AND SPECTRUM INTERNATIONAL INVESTMENT
                                    HOLDING SAL

I hove been directed by His Exceiiency the President of the Republic uf
The Gambia, to inform you that the Gambia Government has accepted
your offer for a fair and amicable settlement of all the current issues
surrounding the operations of GAMTEL and GAMCEL, and now agreed as
follovv's:


    (i)      Gambia Government has agreed to v/oiver its right of first refusal
             yr.der-the Mubiu Shuies Pui7!hase Agreem^m^f 2/^^ July,^^D^
             and the Shareholders Agreement of September, 2007 for
             Spectrum International Investment Holding SAL to sell its 50%
             shareholding in GAMCEL at a price appropriate for its
             investments for 50% shares in GAMTEL, and 50% shares in
             GAMCEL.

    (ii)     Spectrum International Investment Holding SAL will transfer its
             50% shareholding in GAMTEL to GAMBIA GOVERNMENT. The
             management       contracts      for GAMTEL/GAMCEL,          and   the
             International Gateway have been terminated by Gambia
Case 8:20-cv-02071-DKC Document 16-1 Filed 03/28/22 Page 32 of 115


                 Government, and accepted          by   Spectrum      International
                 Investment Holding SAL.

      (iii)      Gambia Government and Spectrum International Investment
                 Holding SAL accept that the above constitutes a fair and
                 amicable settlement of all the current issues surrounding the
                 GAMTEL/GAMCEL Operations, and will be incorporated in a
                 Settlement Agreement to be signed by Gambia Government
                 and Spectrum International Investment Holding SAL.

We would appreciate if you can sign both copies of this letter, and return
copy to Gambia government.




Mousa G Balo-Gaye                                Ali Youssef SH ARARRA
SECRETARY OF STATE FOR FINANCE                   SPECTRUM/INTERNATIONAL
AND ECONOMIC AFFAIRS                             INVESTMENT HOLDING SAL

Cc:           Secretary General, Office of The President
              Secretary of State for Information, Communication and
                Information Technology'       ~
              Hon. Attorney;Generai and Minister ofdustice - •
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                                                            THE GAMBIA
                            republic of


            DEPARTMENT OF STATE
            DEPAK               FOR COMWIUNICATIONS,
                            information TECHNOLOGY INFORMATION
                    CRTS BUILDING, MDl ROAD, KANIFING, THE GAMBIA, WEST AFRICA.

                                                                                26*^^ November2008
DOSClT/CON/012/(48)

Honourable Secretary ofState
Department of State for Finance and                                                -t
Economic Affairs                                                               V
The Quadrangle
BANJUL

                          ppni IFC^T FOR INTERVFNTIQN TO REVIVE GAMTEL

                 of fhic I^ttpr iq to reouest vour good office to restore the v/aiver granted to
GAMTEUGAMCEL in October 2007, which was rescinded in
 October 9« 2008. Also, we are requesting the exemption of GAMTEUGAMCEL from
 Act and rules governing procurement in Public Enterpnses.

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                             iSerjrSellr:SSrr°eSteS7G,AMTE?andr^^^ C
                                                    ^ . pAMTCi jo pY'^-orjopninn 3 n6Q^tlV6 C3Sh ilOvV
 finanoU! =.c..st..nces. Acoor .ng to tne re uU,
 situation that aftec s ,is operatjona,                                      to arequired investment

  'clm'ication baSle is threatened. The report is herewith enclosed for ,our reference.
  ..    Z                nnnHpr and reflect ov°r how to get the necessajY financial package to address

  KBSSSSSSSP^
  hindering their survival and ultimate aim to regain their past glories.
   considering the difficulty faced by GAMTEUGAMCEL, we kindly seek your good office to consider
   the following;

             T roctnm thp waivPf Granted to GAMTEUGAMCEL for certain payment obligations to
        •                                             reference MF/C/2T6 A/(4) dated Octobers, 2007.




                                                                                                         •'lP\   \A
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Hon Fatim Badjie-Janneh
SECRETARY OF STATE
C.C. secretary General, Office of the President
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                  Department of State For Finance & Economic Affairs                    ^
                                   The Quadrangle                                  ^
                                 Banjul, The Gambia


Ref: MF/C/278A/(9)                                       December 1, 2008

IN CONFIDENCE


Honourable Secretary of State for
Communications, Information and
Information Technology
GRTS Building
KANIFING


                  REQUEST FOR INTERVENTION TO REVIVE GAMTEL


I wisti to refer your letter, DOSCIT/CON/012/(48) of 26'^^ November, 2008
requesting that Government restores its waiver of D550,011,382.00 arrears of loan
repayments, sales taxes, licenses, taxes, fees and levies to GAMTEL and GAMCEL.

The arrears of GAMTEL and GAMCEL to Government of loan repayments. Sales
Tax, Corporation tax. Spectrum license fees, GSM license, PURA Regulatory fees
up to 9"^ October, 2007 can be waived, and is recommended for waiver.

For GAMTEL, loan repayments, sales tax, corporation tax, PURA Regulatory fees.
Spectrum license fees from lO'*^ October, 2007 onwards should continued to be
paid

For GAMCEL, Corporation tax, sales tax, GSM license, PURA Regulatory fees from
10'^^ October, 2007 should continue to be paid.

We     consider      that   certain    telecommunications       or     mobile-related
maintenance/repairs or replacement parts, items or equipment of a certain
amount can be exempted from GPPA procurement rules. But, substantial
investments of significant amounts must conform to our national procurement
rules as part of our good governance system.




Mousa G Gala-Gaye
SECRETARY OF STATE FOR FINANCE
AND ECONOMIC AFFAIRS


Cc:   Secretary General, Office of The President
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                                 Department of State for Finance &Economic Affairs
                                                       Ttie Quadrangle
                                                      Banjul, The Gambia
.Cv

         MF/C /278A/{10)
                                                                           December 2, 2008
         IN CONFIDFNirP


        Honourable Secretary ofState
        Department of State for Communications,

        KANIFINia




                         request for INTFRVENTION to REVIVF aAKATci
       Further to my memo. MF/C/278A/(9) of December onne , •u.
       that all Govemment liabilities to GAMTEL
                ^007 should equQiiy oe v/aived by thP"'ipc+.^'^-'"
       recommendation to waive" GAMTpl/'^am^' ^''"
       Govemnient up to 9t. October, 2007faXToX;k


      ^^NoHfj^'aoiO Metrsa GBola-Gdye
                    • • •V w w         Iv-4 xv vj y
      SECRETARY OF STATE FOR FINANCE
      AND ECONOMIC AFFAIRS


      Cc; Secretary General, Office of The President
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                  Exhibit 3
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                           MARYLAND REAL PROPERTY

PROPERTY:             Lot 12 Block     ~   Subdivision FALCONHURST

Street Address:       9908 BENTCROSS DRIVE. POTOMAC. MD 20854

1. The undersigned hereby acknowledge the examination and approval of the attached HUD 1 Settlement
   Statement ("HUD 1"), receipt of a copy, and that all figures shown are subject to final verification and
   audit. Any error discovered may be corrected by PARAGON TITLE & ESCROW COMPANY, its agents or
   representatives, (hereinafter PARAGON). PARAGON is directed and authorized to make distribution and
   payments in accordance herewith. PARAGON assumes no liability for the accuracy or validity of items or
   charges not imposed by PARAGON or the failure to include on the HUD1 items or charges not disclosed
   to PARAGON at settlement. Should it be determined after settlement, but prior to the disbursement of
   proceeds, that the amount due on the partial payment or payoff of any tax (whether Federal, State, County
   or City), assessment, Deed of Trust, Mortgage, Lien, Debt, Condominium or Housing Association Fee or
   any encumbrance on the property, exceeds the amount collected on the HUD1, the undersigned hereby
   authorize PARAGON to make the appropriate changes on the HUD1, to initial same on their behalf and to
   make payment therefore. In the event such discovery is made after the proceeds have been disbursed,
   PARAGON is authorized to stop payment on any checks issued, and/or cancel any wires transfers already
   transmitted. In the event that PARAGON is unable to stop or cancel a disbursement, the seller(s)/bor-
   rower(s) agree to immediately remit to PARAGON the amounts necessary to satisfy said obligation(s) and
   to further indemnify and hold harmless PARAGON from any loss or expense incurred relative to such
   amounts disbursed. Such indemnification shall include, but not be limited to, payment of reasonable
   attorney's fees. The undersigned further authorize and appoint PARAGON and any attorney employed by
   Rothstein & Associates, P.A. as their attorney in fact to make. any necessary corrections on all D.C.
   Transfer and Recordation Tax Forms and/or to execute the same ontheir behalf.

2. If monies due or to be paid at closing are dependent upon an assignment of funds, PARAGON
   cannot assume responsibility for obtaining receipt of same and cannot record or disburse funds until
   the same are received. PARAGON assumes no responsibility for the failure of any checks tendered
   to PARAGON to clear, due to a bank failure, insufficient funds, or the like. If disbursement of funds
   is delayed due to non-receipt or non-clearance of the funds, any additional interest due on payoff(s)
   shall be deducted from the proceeds due to the seller/borrower and a net check will be issued for
   the difference, and PARAGON is authorized to stop payment on any checks issued by PARAGON if
   PARAGON is notified that any checks tendered to PARAGON have failed to clear.

3. In order to comply with Section 7-106(b) of the Real Property Title of the Annotated Code of
   Maryland, PARAGON will mail to the Seller(s) and purchaser(s}, within 30 days of delivery of the
   deed, a copy of the recorded release of any mortgage or deed of trust which PARAGON is obliged
   to obtain. If the recording of the release is delayed beyond 30 days, a letter of explanation will be
   sent to the seller(s) and purchaser(s) and additional letters will be sent every 30 days thereafter until
   recordation. Failure to comply with this law gives the purchaser(s) and seller(s) the right to petition a.
   court of equity to order an audit. However, the above does not apply if the funds are disbursed
   within 5 days of the delivery of the deed.

4. The seller(s)/borrower(s) hereby warrant that there are no liens or encumbrc;inces of record, or
   otherwise, which would affect the title to the property subject of this transactio'n, other than those
   which are shown on the attached settlement statement. The seller(s)/borrower(s) also warrant that
   there have been no improvements made to the above-described property within the past six months
   from the date hereof, which improvements have not yet been paid for.

5. The seller(s) further certifies that there is/are smoke detector(s) upon the premises in compliance
   with local laws.
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6. PARAGON is not responsible for the payment of utility bills, including charges by the Washington
   Suburban Sanitary Commission or other government agencies for sewer usage and/or water
   consumption. As an accommodation to the parties, PARAGON will hold an "escrow" for payment of
   water bills, but cannot guaranty that said escrowed amount will satisfy all balances unpaid. In the
   event the final water bill exceeds the amount held in escrow the seller(s) agree to immediately remit
   their pro-rata share to the purchaser(s), and to indemnify said purchaser(s) from any loss or damage
   sustained by reason of their noncompliance with this provision. In the event the final water bill has
   not been received by PARAGON within 90 days of settlement, PARAGON shall be irrevocably
   authorized to return the entire water escrow to the seller(s) and PARAGON, as well as the title
   insurer, shall be held harmless and indemnified against any loss suffered related to the return of
   said escrow, or if the funds held in escrow are insufficient to pay the final bill in full. Notwithstanding
   the return of the escrowed amount to the seller after the 90-day period, the parties hereto are not
   relieved of the corresponding responsibilities to adjust the relevant outstanding water bill between
  them.

7. The purchasers have been advised that they may have the right to appeal a current or pending tax
   assessment of the property following settlement, although PARAGON makes no certification of
   same. For further information, contact the State Department of Assessments and Taxation in the
   County wherein the property is located.


8. The purchaser(s) acknowledge receipt of the original Owner's Title Insurance Policy: [     ) YES [   J   NO



                         1Tenants in Common     _ _ _ _ _ %::. _ _ _ _ %)


  BUYERIS INITIALIS




MYJ FAMILY REVOCABLE TRUST




By:ZIEHYAHYA JAMMEH, Trustee



Buyer's E-mail Address:                       AHHODR02001@YAHOO.COM


Seller's E-mail Address:                      AOKITOO@GMAIL.COM; CCJULSYD@GMAIL.COM


Sellers Forwarding Address:                   c/o CSI Capital Managament,
                                              600 California Street, 18th Floor, San Francisco, CA 94108


Sellers New Telephone Numbers:                (230} 463 - 2438
                                               :;IL/ 0 .
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                            Case 8:20-cv-02071-DKC Document 16-1 Filed 03/28/22 Page 40 of 115
                                                              \.
                                                                      ASE N06010-0041t
ATTORNEY: RANDALL M. ROTH~PROCESSOR.Rosemarie                                                                                                             SETUP:RLF
                                                                                                                                                                             -------
      SETTLEMENT DATE:                                       September 20, 2010 SETTLEMENT TIME: _0_3:_3_0_P_M_ _ __
PROPERTY ADDRESS:                                  9908 Bent Cross Drive, Potomac, MD 20854

LE GAL DESCRIPTION: ---'L___
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SELLER:                            CALBERT CHEANEY and YVETTE CHEANEY
                     - - - - - - - - - - - -.........~......,;;.;.-----..=..............;.----....,__=..-...=...;__--                                                      WORK: _ _ _ _ __
            SS#:         XXX-XX-XXXX                               SS#: ____2___
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                                                                                     27__-4""-"8__
                                                                                                77_____ HOME: _ _ _ _ __
                                                                                                                                                                           WORK: _ _ _ _ __
  SELLER E-MAIL:che712@verizon.net                                                                                 FAX:                                                    CELL:      (240)463-2438
CURRENT ADDRESS/SELLER:                                      c/o CSI Capital Mgmt 600 California St. 18th Floor, San Francisco, CA 94108

PURCHASER: MYJ FAMILY REVOCABLE TRUST
     SS#: _ _ _ _ _ _ _     SS
                             ......#: _________H___OME: _ _ _ _ _ _ W O R K : - - - - - -
                                                                         WORK: _ _ _ _ __
     BUYER E-MAIL: ahhodro2_001@yahoo.com Eddie Hadroj F A X : - - - - - -
                                                                         CELL: _ _ _ _ __
CURRENT ADDRESS/PURCHASER: 9908 Bentcross Drive, Potomac, Maryland 20854

                                                                                                                SELLING AGENT: Lise Howe
    LISTING AGENT: Michelle Leblina Camp
                                                                                                                                                               -----------
              FIRM NAME:                   Long & Foster Real Estate, Inc                                                           FIRM NAME: Coldwell Banker Resident!
              PHONE:                    301 983-0060                                                                                PHONE:                                (202)362-5800
                                                                                                                Listing:
              FAX:                      301 770-7317                                                                                FAX:                                  (202)362-767 4
                                                                                                                2.5000
              MOBILE: _....._3___
                              01........._71.;...7......
                                                   -Sc.-8__
                                                         20____________._                                                           MOBILE:                               (240)401-5577
                                                                                                                Selling:
              E-MAIL: _ _.:.m.:. :.:i-=ch.;.;: :e;.:.;.;l e:.;. ~'e=-=-bl~in=..:.:.;ln~f.c=-=o;.;.;m~_ ____._                       E-MAIL:                               lise@lisehowe.com
                                                                                                                2.5000
                                                                                                                                                          ADM FEE: _ _ _ __
                         - -345.00
                            ADM FEE:
                             -----
BROKER:                                                                                                                 BROKER CONTACT:
                    ---------------                                                                                                                                        ----------
BROKER P H O N E : _ _ _ _ _ _ _ _ _                                                                                 BROKER FAX: _ _ _ _ _ _ _ _ _ __
NEW FIRST TRUST LENDER: _ _ _ _ _ _ _ _ _ _ _ _ _ _LOAN#: _ _ _ _ _ _ _ _ __
ADDRESS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                     O~PHONE: _ _ _ _ _ _ _ _FAX: _ _ _ _ _ _ _ __
LOAN OFFICER: - - - - - - - - - - = L___
PROCESSOR:                                                                             PROC. PHONE:                                                                      OTHER: _ _ _ _ _ __
DATE SCH. W/LENDER:                                                                             TIME SCHED:                                                              WITH: _ _ _ _ __

 NEW 2ND TRUST LENDER: _A....,.L...._L_C_A__
                                          S__H_ _ _ _ _ _ _ _ _L_OAN#: _ _ _ _ _ _ _ _ __
ADDRESS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
LOAN OFFICER: _ _ _ _ _ _ _ _ _ _ _LO------PHONE: _ _ _ _ _ _ _ _FAX: _ _ _ _ _ _ _ __
PROCESSOR:                                                                             PROC. PHONE:                                                                      OTHER: _ _ _ _ _ __
LOAN TYPE:                                                                             TITLE INSURANCE?:                                                     SEPARATE BINDER? _ __

SALES PRICE: 3.500.000.00      1st LN: _ _ _ _ _ __ 2nd LN: _ _ _ _ __
BORROWERS NAMES TO READ: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 PROPOSED INSURED TO READ:MYJ FAMILY REVOCABLE TRUST

EXISTING 1ST TRUST LENDER: Chase
                                                              ~----------------
                                                                             LOAN NO:                                                                                    5302956643
 PAYOFF PH NUMBER: 800-848-9136                                                        DATE P/O REQUEST: _ _ _ _........
                                                                                                                 REQUEST MTHD: _ _ _ __
 EXISTING 2ND TRUST LENDER:                                                                                                          LOAN NO:
 PAYOFF PH NUMBER: _ _ _ _ _ _ _ DATE P/O REQUEST: _ _ _ _........
                                                           REQUEST MTHD: _ _ __

TAX ACCT#: 10-066-02639994                                                                                                 TAX ACCT#:
 YEARLY AMT: _ _ __                                    AMT ALREADY PAID: _ _ _Y_E_A_RLY AMT: _ _ _ _ AMT ALREADY PAID: _ _ __
 AMT DUE: _ _ _ _ __                                     THRU DATE: _ _ _ _ _AMT DUE: _________                                                                            THRU DATE: _ _ _ __

 FFBC?                                  AMOUNT: 1 380.90                                                        FFBC?                                AMOUNT: _ _ _ _ _ _ _ __

                                                                                             PAYABLE TO: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 TERMITE F E E : ~ - - - - - - - -

 DEPOSIT AMT:_1_,o_o_o,__
                       oo_o_.o_o_ _ _ _ __                                                                          DATE:        08/17/10
 ADDTL DEPOSIT: _ _ ____,1,_50_0_._,o_o_o_.o_o_ _                                                                    DATE: _
                                                                                                                               ---------
                                                                                                                                       1_0_ _ __
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        HELD BY BROKER                                                                      INTO FBO                                                     IN~O- CASE
                        Case 8:20-cv-02071-DKC Document 16-1 Filed 03/28/22 Page 41 of 115
                                                                ASE N06010-00411.                                            _;



ATTORNEY: - - - - - - - -
                        PROCESSOR. Rosem'arie                                                                                 SETUP: RLF
                                                                                                                                             -------
     SETTL EM ENT DATE:                                     --------                      SETTLEMENT TIME:                         --------
PROPERTY ADDRESS:                                  9908 Bentcross Drive, Potomac, MD 20854
LEGAL DESCRIPTION: __L___o.a,,_t1___2......_B......
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SELLER: --------=-.. . . . . ........;.~~-=--~.;...;.....;....;;...=.;..~...=.;.~..;.;..;;.=-,;..
             CALBERT          CHEANEY and YVETTE CHEANEY_ __
                                                                                                                                         WORK: _ _ _ __
          SS#: _ _ _ _ _ _ _S~S#: _ _ _ _ _ _ HOME: _ _ _ __
                                                                                                                                            WORK: _ _ _ __
 SELLER E-MAIL:                                                                                 FAX:                                        CELL: _ _ _ __
CURRENT ADDRESS/SELLER:
                                                            -----------------------------
PURCHASER: MYJ FAMILY TRUST
            SS#:                    SS#:                   HOME:        WORK:-----
                 - - - - - - ~ _ _ _ _ _ _......,;...;           -----WORK:
             BUYER E-MAIL: ahhodro2001@yahoo.com Eddie Hadroj FAX:            -----
                                                                        CELL: _ _ _ __
CURRENT ADDRESS/PURCHASER:
                                                               -------------------------
                                                               ,

   LISTING AGENT: Michelle Leblina Camp                                                     SELLING AGENT: Lise Howe              ~---------
                                                                                                                  ...........- - - - - - -
            FIRM NAME:              Long & Foster Real Estate, Inc                                                FIRM NAME: Coldwell Banker Residenti
            PHONE:               301 983-0060                                                                     PHONE:                (202 )362-5800
                                                                                          Listing:
            FAX:                 301 770-7317                                                                     FAX:                  (202)362-7674
            MOBILE:              301 717-5820                                                                     MOBILE:               (240)401-5577
                                                                                          Selling:
            E-MAIL:             michelle.leblin                 Inf.com                                           E-MAIL:               lise@lisehowe.com
                        ADM FEE: _ _ _ _ __                                                                                   ADM FEE: _ _ _ __

BROKER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                                                BROKER CONTACT: _ _ _ _ _ _ _ _ __

BROKER PHONE:_________                                                                            BROKER FAX: _ _ _ _ _ _ _ _ _ __

NEW FIRST TRUST LENDER: - - - - - - - - - - - - - ' L O A N # : _ _ _ _ _ _ _ _ __
ADDRESS:
                  --------------------------------
LO AN OFFICER: ----------==L;..;;;;;O~PHONE: _ _ _ _ _ _ _ _FAX: _ _ _ _ _ _ _ __
PROCESSOR:                                                                PROC. PHONE:                                              OTHER: _ _ _ _ _ __
DATE SCH. W/LENDER:                                                            TIME SCHED:                                          WITH: _ _ _ _ __

NEW 2ND TRUST LENDER: .......A......L=L__C......;A__
                                                  S___
                                                     H_____________L........;OAN#: _ _ _ _ _ _ _ _ __
ADDRESS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

LOAN OFFICER: _ _ _ _ _ _ _ __..,;;;;L;..;;;;;.O___
                                                 PHONE: _ _ _ _ _ _ _ _FAX: _ _ _ _ _ _ _ __
PROCESSOR:                                                                PROC. PHONE:                                               OTHER: _ _ _ _ _ __
LOAN TYPE:                                                                TITLE INSURANCE?:                                       SEPARATE BINDER? _ __

SALES PRICE: 3.500.000.00                                                 1st LN: _ _ _ _ __                            2nd LN: _ _ _ _ __

BORROWERS NAMES TO READ:,                                    its successors and/or assigns as their respective interests may appear.
PROPOSED INSURED TO READ:M~Y.:...:J::...:.F..:..A.:.:.:M.:.:.:IL:..:Y_T:..:..R=U~S:..:..T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

EXISTING 1STTRUST LENDER: _ _ _ _ _ _ _ _ _ _ _ _L___
                                                   O__A_N NO: _ _ _ _ _ _ _ __
PAYOFF PH NUMBER: _ _ _ _ _ _ _ DATE P/0 REQUEST:                                                                                 REQUEST MTHD: _ _ _ __
EXISTING 2ND TRUST LENDER:                                                                                        LOAN NO:
PAYOFF PH NUMBER: _ _ _ _ _ _ _ DATE P/0 REQUEST: _ _ _ _ _
                                                          REQUEST MTHD: _ _ __

TAX ACCT#: 10-66-02639994                                                                             TAXACCT#:
YEARLY AMT: _ _ __                                  AMT ALREADY PAID: _ _ _Y_E_A_RLY AMT: _ _ _ _ AMT ALREADY PAID: _ _ __
AMT DUE: _ _ _ __                                       THRU DATE:                        AMT DUE: _ _ _ __                                 THRU DATE: _ _ _ __

FFBC?                            AMOUNT: _ _ _ _ _ _ _ _F_F_B_C_? _ __                                                     AMOUNT: _ _ _ _ _ _ _ __


TERMITE F E E : = - - - - - - - - - -                                       PAYABLE TO: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

DEPOSIT AMT:_1_.0_0__,0,_00_0_.o_o_ _ _ _ __                                                     DATE: __0~8...;,,_/1;....;...7.;;...,,;,/1...;..0_ __
ADDTL DEPOSIT: _ _ _ _            1,,___5_00__,o_o_o_.o_o_ _                                      DATE:_....;;:;0....;;..;8/~2.._;.5/...;..1O.;;.,..___ __

       HELD BY BROKER                                                      · INTO FBO
        I   .   ; .
        I _; ( ,_/
       ✓._../,'    '.
                                 · ... ·_)_ ·_, . . ,- .·
                                              ..
                            Case 8:20-cv-02071-DKC Document 16-1 Filed 03/28/22 Page 42 of 115
                                                                            ASE N06010-00411
ATTORNEY: - - - - - - - ~
                        • PROCESSOR.Rosemarie                                                                             SETUP:RLF
                                                                                                                                         -------
       SETTLEMENT DATE:                                                                        SETTLEMENT TIME:
                                                          --------                                                           --------
PROPERTY ADDRESS:                                    9908 Bentcross Drive, Potomac, MD 20854

LEGAL DESCRIPTION:                                      Lot 12, Block 3, FALCONHURST,

SELLER: - -.........
              CALBERTCHEANEYandYVETTECHEANEY
                    ....;,=,;--=.;;...;;..;.~-=~-=--=---=-=-.:.=....:....:..=-:....:...=-=-:...:.=..:.:..:.=-:.._ __

             SS#:       ______                                    SS#:
                                                              _.;;;;...;;     -----------HOME: - - - - - -
                                                                                                                                    WORK: _ _ _ _ __
                                                                                                                                     WORK: _ _ _ __
  SELLER E-MAIL:                                                                                     FAX:                            CELL: _ _ _ _ __
CURRENT ADDRESS/SELLER:
                                                             ----------------------------
PURCHASER: MYJ FAMILY TRUST
     SS#: _ _ _ _ _ _S       ____S___#: _ _ _ _ _ _.....;.H~OME: _ _ _ _ _ _ W O R K : - - - - - -
                                                                             WORK: _ _ _ _ __
      BUYER E-MAIL: ahhodro2001@yahoo.com Eddie Hadroj FAX: _ _ _ _ __
                                                                             CELL: _ _ _ _ __
CURRENT ADDRESS/PURCHASER: ,
                                                                            -------------------------
    LISTING AGENT: Michelle LeblinA Camp                                                        SELLING AGENT: Lise Howe   ..=....;;....;;.........,;,...........,._ _ _ _ _ _ __




              FIRM NAME:                   Long & Foster Real Estate, ln.c                                      FIRM NAME: Coldwell Banker Residenti
              PHONE:                    301 983-0060                                                            PHONE:             (202)362-5800
                                                                                                Listing:
              FAX:                      301 770-7317                                                            FAX:               (202)362-767 4
              MOBILE:                   301 717-5820                                                            MOBILE:            (240)401-5577
                                                                                                Selling:
              E-MAIL:                  michelle.leblin                      Inf.com                             E-MAIL:            lise@lisehowe.com
                             ADM FEE: _ _ _ _ _ __                                                                        ADM FEE: _ _ _ __

BROKER: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _                                                                   BROKER CONTACT: _ _ _ _ _ _ _ _ __
BROKER PHONE:                                                                              ~         BROKER FAX: _ _ _ _ _ _ _ _ _ __
NEw FIRST TRusT LENDER: _ _ _ _                                                 c_t;_S_t_
                                                                                       i _____LoAN#: _ _ _ _ _ _ _ _ __
ADDRESS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

LOAN OFFICER: _ _ _ _ _ _ _ __,;L;;;;;..;O;;;...;;..,;PHONE: _ _ _ _ _ _ _ _FAX: _ _ _ _ _ _ _ __
PROCESSOR:                                                                            PROC. PHONE:                            OTHER: _ _ _ _ _ __
DATE SCH. W/LENDER:                                                                       TIME SCHED:                         WITH: _ _ _ _ __

NEW 2ND TRUST LENDER:                                                                                       LOAN#: _ _ _ _ _ _ _ _ __
ADDRESS: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

LOAN OFFICER: ----------=L=O;....:P--=-HONE: _ _ _ _ _ _ _ _ _FAX: _ _ _ _ _ _ _ __
PROCESSOR:                                                                            PROC. PHONE:                            OTHER: _ _ _ _ _ __
LOAN TYPE:                                                                            TITLE INSURANCE?:                   SEPARATE BINDER? _ __

SALES PRICE: 3~·~50;;..;;0...;;.o;..;;;.o.;;;..;;o•..;;;..;oo;;;..___ __              1st LN: _ _ _ _ _ __             2nd LN: _ _ _ _ __
BORROWERS NAMES TO READ:,                                        its successors and/or assigns as their respective interests may appear
PROPOSED INSURED TO READ:M,.!!.Y..!.!J!..!F--=-A.!!!M:.!!.!IL::..:Y_T!.,!.R.!,!:U~S:...:..T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

EXISTING 1ST TRUST LENDER: - - - - - - - - - - - - - - - ' L a a . . . O.....A__N.a...a.,.NO: _ _ _ _ _ _ _ _ __
PAYOFF PH NUMBER: - - - - - - ~ D A T E P/O REQUEST: ------'-R...EQUEST MTHD: _ _ _ __
EXISTING 2ND TRUST LENDER:                                                                                      LOAN NO:
                                                                                      •
PAYOFF PH NUMBER: - - - - - - ~ ATE P/O REQUEST: _ _ _.._,.;R...;.;;;;EQUEST MTHD: _ _ __

TAX ACCT#: 10-66-02639994                                                                               TAXACCT#:
YEARLY AMT: _ _ __                                     AMT ALREADY PAID:. _ __,,aY__
                                                                                   E____
                                                                                     A__ RLY AMT: _ _ _ _ AMT ALREADY PAID: _ _ __
AMT DUE: _ _ _ _ __                                       THRU DATE:                           AMT DUE:                              THRU DATE:. _ _ _ __
FFBC? _ __                              AMOUNT:. _ _ _ _ _ _ _ _~FF~B~C~?_ _ __                                        AMOUNT:. _ _ _ _ _ _ _ _ __

TERMITE FEE:,:___ _ _ _ _ _ __                                                            PAYABLE TO: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


DEPOSIT AMT:.. . ;1..&. ,;;.o;,_;;;.o. ;:;..Jo.~oo.;;:,. ,::o;..;. ;.o~o_ _ _ _ __                   DATE: _ _ _ _ _ __
ADDTL DEPOSIT: _ _ _ _ _ _ _ __                                                                       DATE: _ _ _..,,,,.,...-_ _.,,...........

        HELD BY BROKER                                                                    INTO FBO                  0NrocA~
                                                                                                                     ~-
                                                                                                                           ---- . - --· ... ---·   -✓
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                          I
                              \_


Jenny Cabrera
--------------·-------------------------··--··-···-·--·-·-·-
From:          Jenny Cabrera
Sent:          Wednesday, August 25, 2010 12:40 PM
To:            'ahhodro2001@yahoo.com'
Subject:       9908 Bentcross Drive, Potomac, MD 20854
Attachments: WACHOVIA W-9 FORM.pdf
We have received the earnest money deposit for the purchase of the above-referenced property. In order
to place this money in an interest bearing account, we need the attached form signed and completed at
your earliest convenience. We also need a copy of the drivers license for the individual who is acting as
Trustee for MYJ Family Trust. If you have any questions, please contact us. Thank you.


--Donna Johnson for
Jenny Cabrera
Settlement Coordinator
Paragon Title & Escrow Co.
7415 Arlington Road
Bethesda, MD 20814
301-986-1114 ext. 128
301-652-67 42 (fax)
jcabrera@paragontitle.com




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                   CERTIFICATE OF TRUST EXISTENCE AND AUTHORITY

      Zineb Yahya Jammeh, being duly sworn, is executing this Certificate of Trust Existence and
Authority as the Settlor, and says that:

    1. That Zineb Yahya Jammeh, remains the Trustee under the MYJ FA1\1ILY REVOCABLE
       TRUST DATED September~ 2009 and may continue t'1 act in the capacity of the
        Trustee.

    2. Title and Date of Trust Agreement. The name and date of the Trust Agreement is: MYJ
       FAMILY REVOCABLE TRUST DATED September          2009.  4-,
    3. Amendment to Trust Agreement. The Trust Agreement has not been amended.

    4. Powers of Trust To Trustee. The Trust gives the Trustee broad powers of administration
       without the need for judicial confirmation including, but not by way of limitation, the power to
       purchase, mortgage, encumber, lease and sell real estate or personal property. Any Successor
       Trustee shall 4ave the same powers, except the power to amend the trust, on presentation of the
       Initial Trustee's resignation or medical evidence that the Initial Trustee is unable to act as
       Trustee. The Trust directs the Trustee and Successor Trustee not to record or register the Trust
       instrument, as the Grantor intends that the MYJ FAMILY TRUST dated September --1._, 2009
       is not to be placed on public record, if at all possible.

    5. Settlor. The name and address of each Settlor is·:
               Name: Zineb Y ahya Jammeh
                Address: 13250 Rotunda, Dearborn, Michigan 48120

    6. Trustee: The name and address of each Trustee is:
              Name: Zineb..,Y ahya Jammeh
              Address: 13250 Rotunda, Dearborn, Michigan 48120

    7. Successor Trustee: The name and address of each Successor Trustee is:
              Name: Yahya Jammeh
               Address: State House, Banjul, Republic of Gambia

   8. Settlor's reserved powers. The Settlor has reserved the power to amend or revoke the Trust
      Agreement The Settlor has reserved reserved the power to withdraw trust property.

   9. Trustee's powers. The Trustee has the power to sell, purchase, mortgage the real property
      recited in Exhibit A, including the power to execute all necessary documents. Furthermore, said
      powers are not otherwise restricted by any provision of the Trust Agreement.

   10. Governing Law. The Trust Agreement, and each amendment, is governed by the laws of the
       State of Michigan.

   11. That the MYJ FAMILY REVOCABLE TRUST DATED September                         ,1 , 2009     remains
       in full force and effect

   12. Reliance. This Certificate of Trust Existence and Authority correctly recites the current status of
       the Trust Agreement, is made in accordance with the provisions of Act 133 of the Public Acts of
       1991, and may be relied upon to the extent provided by said act.

   TIDS IS A LEGAL DOCUMENT AND AN ATTORNEY SHOULD BE CONSULTED.


Executed this August 8, 2010
                                                                           Page 1 of2
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Jenny Cabrera

From:     Jenny Cabrera
Sent:     Wednesday, August 25, 20101:26 PM
To:       'Eddie Hodroj'
Cc:       'lise@lisehowe.com'; Dick Fritts
Subject: RE: 9908 Bentcross Drive, Potomac, MD 20854
No, it's not necessary to complete the form if you do not wish to earn interest. Please let me know how
you would like to proceed. Thank you.

-Donna Johnson for
Jenny Cabrera
Settlement Coordinator
Paragon Title & Escrow Co.
7415 Arlington Road
Bethesda, MD 20814
301-986-1114 ext. 128
301-652-6742 (fax)
jcabrera@paragontitle.com




                                                      -------·--·-· ·-·-------·--···---·---•-•-•--·-•"-
From: Eddie Hodroj [mailto:ahhodro2001@yahoo.com]
Sent: Wednesday, August 25, 2010 1:12 PM
To: Jenny Cabrera
Subject: Re: 9908 Bentcross Drive, Potomac, MD 20854


Dear Jenny,

What if we don't want to earn interest on the money transferred ? Do we still need to fill anything
out?

Thanks,
Ahmad Hodroj
--- On Wed, 8/25/10, Jenny Cabrera <JCabrera@paragontitle.com> wrote: .


  From: Jenny Cabrera-<JCabrera@paragontitle.com>
  Subject: 9908 Bentcross Drive, Potomac, MD 20854
  To: ahhodro2001@yahoo.com
  Date: Wednesday, August 25, 2010, 12:40 PM

  We have received the earnest money deposit for the purchase of the above-referenced
  property. In order to place this money in an interest bearing account, we need the attached form
  signed and completed at your earliest convenience. We also need a copy of the drivers license
  for the individual who is acting as Trustee for MYJ Family Trust. If you have any questions,
  please contact us. Thank you.                                              ·


  --Donna Johnson for
  Jenny Cabrera



8/25/2010
                                                                           Page I of 4
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Rosemarie Dempsey

From:     Eddie Hodroj [ahhodro2001@yahoo.com]
Sent:     Thursday, September 16, 2010 1:36 PM
To:       Lise; Randy Rothstein
Cc:       Rosemarie Dempsey; Randy Rothstein
Subject: RE: Solved
Dear Randy,

Madam's intention is to make this as here primary residence and yes she is the benificiary of the
Trust. I don't !mow if she can homestead this house (I don't !mow if the law is applicable for non-
US citizens).

Thanks,

Ahmad

--- On Thu, 9/16/10, Randy Rothstein <rrothstein@paragontitle.com> wrote:


 From: Randy Rothstein <rrothstein@paragontitle.com>
 Subject: RE: Solved
 To: "Lise" <dchomenews@gmail.com>
 Cc: "Eddie Hodroj" <ahhodro200l@yahoo.com>, "Rosemarie Dempsey"
 <rdempsey@paragontitle.com>, 11 Randy Rothstein" <rrothstein@paragontitle.com>
 Date: Thursday, September 16, 2010, 10:56 AM

                     Good Morning Lise:

                     Thank you to you and Ahmad for closing the loop on the balance of funds.
 like the work "solved".

                       My last project that I am working on relative to this case is whether we can get
 semi-annual taxes for
                       the purchaser. In order to get a response from Montgomery County, I need to
 know if Madame is the
                       beneficiary of the trust and intends for this property to be her primary
 residence. If yes, we do have the
                       possibility, but not guaranty to be able to pay real estate taxes semi-annually.
 If not, or if the county
                       disallows semi-annual taxes, we will need to collect the second half tax bill on
 the final HUD1 (which
                       statement is attached to this email, now including the actual cost for the
 House Location Survey).
                       If the County requires the payment of the second half taxes, we will add them
 to the final HUD1 in the                     ·
                       amount of $17,897.31. We will be happy to accept that amount in a personal
 check if there will not be time
                       to add it to the BOA Bank Check.

                     Please let me know as soon as possible what Madame's intentions are
 regarding principal residency and
                    confirmation that she is the beneficiary of the Trust.




9/16/20i0
                                                                            Page 1 of 3
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Rosemarie Dempsey
- - - - - ----------------------···------- -------
From:            Randy Rothstein
Sent:            Thursday, September 16, 2010 10:56 AM
To:              Lise
Cc:              Eddie Hodroj; Rosemarie Dempsey; Randy Rothstein
Subject:         RE: Solved
Attachments: 9908 Bentross HUD1
                    Good Morning Lise:
                                                                                           •
                    Thank you to you and Ahmad for closing the loop on the balance of funds. I like the
work "solved".

                    My last project that I am working on relative to this cas!3 is whether we can get semi-
annual taxes for
                    the purchaser. In order to get a response from Montgomery County, I need to know if
Madame is the
                    beneficiary of the trust and intends for this property to be her primary residence. If yes,
we do have the
                    possibility, but not guaranty to be able to pay real est~te taxes semi-annually. If not, or
if the county
                    disallows semi-annual taxes, we will need to collect the second half tax bill on the final
HUD1 {which
                    statement is attached to this email, now including the actual cost for the House
Location Survey).
                    If the County requires the payment of the second half taxes, we will add them to the
final HUD1 in the
                     amount of $17,897.31. We will be happy to accept that amount in a personal check if
there will not be time
                     to add it to the BOA Bank Check.

                   Please let me know as soon as possible what Madame's intentions are regarding
principal residency and
                   confirmation that she is the beneficiary of the Trust.

                    Thank you.

                    Looking forward to closing.

                    Randy



                 Randy Rothstein
                 Paragon Title and Escrow Company
                 7 415 Arlington Road
                 Bethesda, MD 20814
                 301-986-1114
rrothstein@paragontitle.com


From: Lise [mailto:dchomenews@gmail.com]
Sent: Thursday, September 16, 2010 7:00 AM
To: Randy Rothstein
Subject: Fwd: Solved




9/16/2010
                                                                                                     Page 2 of 3
        Case 8:20-cv-02071-DKC Document 16-1 Filed 03/28/22 Page 48 of 115




Sent from my iPhone
The Lise Howe Team
240 401 5577
Coldwell Banker
Chevy Chase Office
502 8 Wisconsin Ave NW
Washington, DC 20016
202 362 5800 ext 4349



Begin forwarded message:

     From: Eddie Hodroj <ahhodro200l@yahoo.com>
     Date: September 16, 2010 4:54:07 AM EDT
     To: Lise Howe <lise@lisehowe.com>
     Subject: Re: Solved

     Good morning Lise,
     It is actually a bank check from Nigeria! Oust kidding) :)
     It will be from Bank of America ;)                    .
     We are really looking forward in seeing you. We will be flying in over the weekend. Do
     you work on weekends ? It would have been perfect to take a quick peek at the house on
     Sunday (I am sure that madame missed the house); cause on Monday, our day starts at 9am
     and will be done around 2:30pm ... then the closing! Yuppy, I am excited!.
     Just let me know, and if it is not duable (cause sunday's are made for families), then I totally
     understand.
     Cheers,
     Ahmad

     --- On Wed, 9/15/10, Lise Howe <lise@Jisehowe.com> wrote:


       From: Lise Howe <lise@lisehowe.com>
       Subject: Re: Solved
       To: "Eddie Hodroj" <ahhodro2001@yahoo.com>
       Date: Wednesday, September 15, 2010, 6:11 PM

       Just confirming that the check is on a US bank - which is what I just told everyone
       ,.:_./ 1_~: -'~?- because I know thc1:t is what you told me. I cant wait to see you guys at
       settlement! ! ! Do you want to see the house again before settlement Monday
       afternoon?

       On Wed, Sep 15, 2010 at 3:10 PM, Eddie Hodroj <ahhodro2001@yahoo.com>
       wrote:
         Great Lise. Thank you so much. I will ask madame to sign and send back.

            --- On Wed, 9/15/10, Lise <dclzomenews@gmailcom> wrote:




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                                                                            Page 3 of 3
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            From: Lise <dchomenews@gmail.com>
            Subject: Solved
            To: "Eddie Hodroj" <ahhodro200l@yahoo.com>
            Date: Wednesday, September 15, 2010, 9:28 AM


            Randy is happy to take your certified check or cashiers check for the
       1    furniture and roll it all into the wire to the cheaneys. Do just go ahead and
            sign both and send back. Best. Lise

            Sent from my iPhone
            The Lise Howe Team
            240 401 5577
            Coldwell Banker
            Chevy Chase Office
            5028 Wisconsin Ave NW
            Washington, DC 20016
            202 362 5800 ext 4349




      The Lise Howe Team
      Realtors, Attorney, Local Expert
      Coldwell Banker Chevy Chase Office
      240-401-5577
      202-362-5800
      www.dchomenews.com
      www.lisehowe.com
      www.kenwood-forest.com




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                                                                                         Rothstein & Associates, P.A.
                                                                                                        General Counsel

                                                                                                        Randall M. Rothstein
                                                                                                              Admiaed in MD, OC
                                                                                                            Robert M. Gratz
                                                                                                           Admiaed in MD, DC, FL
                                                                                                            Richard L. Fritts
                                                                                                              Admiaed in MD. OC
                                                                                                           Fred E. Fucrovsky
                                                                                                              l'Jmiucd.inMD,PA
                                                          January 10, 2011                                 Jason S. Sherman
                                                                                                                  Ailmiaed in MD
             Mr. Ahmad Hodroj
             13250 Rotunda Drive
             Dearbome, MI 48120



                            RE:     9908 Bent Cross Drive, Potomac, MD 20854
                                    PTE File No. 6010-00411 RMD


             Dear Mr. H_odroj:

             Enclosed please find your original Deed and Owner's Title Insurance Policy for the
             above:'"referenced property. Please keep these documents with the others you received
             during your settlement with us on 09/20/10.

             As a token of our appreciation of your business, we are pleased to offer you a reduction
             in our no~al fees for any future second-mortgage or refinance transaction on this
             property that we handle for you. We hope you will remember us the next time you, or a
             friend, purchase, sell or-refinance real estate.

             It was a pleasure working with you.

                                                   Sincerely,

                                                   PARAG        .TITLE & ESCRO       COMPANY



                                                   BY:    LD     E. FUTROVSK~, ESQ.
                                                          Post-Settlement Department

             Enclosures




741S'Arlingron Road Bethesda, Maryland 20814 Telephone 301.986.1114 DC 202.587.9500 Fax 301.652.6742 or 301.907.2858
                    ·             Website: htcp://www.paragomicle.com E-mail: pce@paragontirle.com ·
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                  Exhibit 4
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